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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


  SCANNING TECHNOLOGIES                 )   Honorable Susan D. Wigenton
  INNOVATIONS, LLC                      )

                             Plaintiff, )   Civil Action No. 2:22-cv-02722-SDW-CLW
                                        )
                Versus                  )
                                        )
  EVENTDEX, LLC                         )   Motion Date: July 18, 2022
                                        )
                            Defendant. )




    DEFENDANT EVENTDEX, LLC’S MEMORANDUM OF LAW IN SUPPORT OF
        DEFENDANT’S MOTION FOR JUDGEMNT ON THE PLEADINGS




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    I.      OVERVIEW

         Plaintiff Scanning Technologies (“Plaintiff”) is an established and notorious non-
 practicing entity, and its principal (and sole inventor of the the ‘101 Patent) has a long history of
 filing serial litigation but then dismissing cases when met with resistance, before any decisions
 can be rendered on the merits. Since January 1, 2020, Plaintiff has filed almost forty cases in a
 wide variety of federal jurisdictions, all of which assert either the patent at issue here, U.S. Patent
 No. 10,600,101 (“the ‘101 Patent”), or U.S. Patent. No. 9,934,528 (the “’528 Patent”). Both the
 ’101 and the ’528 patents are continuations of (and claim priority to) U.S. patent application Ser.
 No. 13/405,246 filed on Feb. 25, 2012, now U.S. Pat. No. 8,469,270. Plaintiff has repeatedly
 agreed to dismiss cases with prejudice after a 35 U.S.C. § 101 motion was filed, but before such
 motion could be heard. See, e.g., Scanning Technologies LLC v. Linga, LLC, 2-20-cv-00429 (M.D.
 Fl.), Scanning Technologies v. Eposnow, LLC, 6-20-cv-00990 (M.D. Fl.), Scanning Technologies
 v. Night Out, Inc. 2-21-cv-02620 (C.D. Cal.), Scanning Technologies v. Finale, Inc., 5-21-cv-
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 (W.D. Tex.), Scanning Technologies Innovations, LLC v. Thunder Data Systems, Inc. (6:21-cv-
 00448-ADA). Plaintiff’s repeated lawsuits, coupled with its decisions to dismiss such suits in view
 of a 35 U.S.C. § 101 motion, make this one of the rare cases where it is appropriate to resolve
 Section 101 eligibility of the patent-in-suit in a Rule 12(c) motion for judgment on the pleadings.
         Indeed, in a similar case concerning a patent by the same inventor, Leigh Rothschild, the
 court found the case exceptional in part due to the plaintiff’s “vexatious litigation.” Rothschild
 Digital Confirmation, LLC v. CompanyCam, Inc., 494 F.Supp.3d 263, 267 (D. Del. 2020). In
 Rothschild, the plaintiff filed eleven cases asserting infringement of the patent-in-suit in the span
 of two years. Id. at 264. Defendant CompanyCam moved to dismiss the case on patent eligibility
 grounds, and the court stated it would grant the motion during the oral argument of the motion. Id.
 The plaintiff then dismissed the case before the Court’s order was entered and prolonged litigation
 against defendants in other cases. Id. at 268. The District of Delaware described the plaintiff’s
 litigation conduct as “troubling” and deemed the case exceptional in view of the totality of
 circumstances and awarded attorneys’ fees to the defendant. Id. at 267-269. The Court also
 expressed concern about the plaintiff’s principal’s conduct, noting that Mr. Rothschild had filed
 820 lawsuits (a number which is certainly even higher now in June 2022) without reaching the
 merits in any of them. Id. at 266. Plaintiff has demonstrated similar litigation conduct here, and

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 without an early look at the merits, they may continue their vexatious litigation without risking a
 decision on the merits.


     II.       STAGE AND NATURE OF PROCEEDINGS
            Without any prior contact or notice, on May 10, 2022, Plaintiff filed this lawsuit accusing
 Eventdex, LLC (“Defendant”) of infringing the ‘101 Patent, entitled “Systems and Methods for
 Indicating the Existence of Accessible Information Pertaining to Articles of Commerce.” Plaintiff
 accuses Defendant’s “Event management application, any associated hardware, and software, and
 any similar products” of infringing at least Claim 1 of the ‘101 Patent. (Complaint, ¶14, ECF 1).
            On or around June 7, 2022, a copy of the Complaint and Summons were delivered to the
 home residence of one of Defendant’s principals. It is noted that as of June 24, 2022, Plaintiff has
 failed to file proof of service. New Jersey law requires that “proof of service of all papers required
 or permitted to be served shall be filed in the Clerk’s office promptly and in any event before action
 is taken thereon by the Court or the parties.” L. Civ. R. 5.1.(b). (emphasis added). Plaintiff’s failure
 to provide timely proof of service skirts this rule and is consistent with its above-outlined strategy
 of “vexatious litigation” prior to voluntary dismissal before risking disposition of the case on its
 merits.
            At this point, Defendant has been unable to fully confirm the conditions around the delivery
 of the Complaint and the Summons, particularly as to whether such delivery constituted proper
 service. Nonetheless, in view of the nuisance nature of this lawsuit, and to avoid Plaintiff taking
 advantage of late-filing proof of service, Defendant is proceeding with this Motion.


     III.      SUMMARY OF THE ARGUMENT
            Defendant moves for judgment on the pleadings pursuant to Rule 12(c) of the Federal Rules
 of Civil Procedure. Fed. R. Civ. P. 12(c). The claims of the ‘101 Patent are invalid on the face of
 the patent because they are directed to patent-ineligible subject matter under 35 U.S.C. § 101. The
 claims recite the mere notion of using generic computer components to achieve the abstract idea
 of communicating information about an article of commerce by use of a marking. Indeed, the
 claims at issue here “fall into a familiar class of claims ‘directed to’ a patent-ineligible concept.”
 Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016). Much like the
 barcode and QR claims at issue in Secured Mail, the claims at issue here “merely provide that an

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 identifier is affixed to [an article of commerce] that is used by the recipient to request and display
 electronic information.” Secured Mail Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905, 910
 (Fed. Cir. 2017).
          Moreover, the recited components, “a mobile device” comprising a “signal processing
 device” and a “visual input device,” and “a server,” do not amount to any technical improvement
 in the functioning of the system or any components. Rather, these components are used only as
 tools to implement the abstract idea of communicating information about an article of commerce
 by use of a barcode, a form of a marking. See BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281,
 1290–91 (Fed. Cir. 2018) (“If a claim’s only ‘inventive concept’ is the application of an abstract
 idea using conventional and well-understood techniques, the claim has not been transformed into
 a patent-eligible application of an abstract idea.”). The claims of the ’101 Patent thus lack an
 inventive concept.
          Resolving this issue does not require discovery or formal claim construction. The ’101
 Patent does no more than disclose an abstract idea using conventional and well-known
 components. Therefore, the claims of the patent are invalid under § 101 for failure to claim patent
 eligible subject matter. To avoid waste of judicial and party resources unnecessarily litigating an
 invalid patent, Defendant thus respectfully requests that the Court grant Defendant’s Motion
 pursuant to Rule 12(c) of the Federal Rules of Civil Procedure.


    IV.      LEGAL STANDARD
          A. Judgment Should be Entered in Favor of Defendant at the Pleading Stage
          A party may move for judgment on the pleadings after “the pleadings are closed—but early
 enough not to delay trial.” Fed. R. Civ. P. 12(c). In deciding a motion for judgment on the
 pleadings, a court can consider the “complaint, exhibits attached to the complaint, matters of public
 record, as well as undisputedly authentic documents if the complainant’s claims are based upon
 those documents.” Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010). A court may also consider
 facts it has judicially noticed. Liberty Int'l Underwriters Canada v. Scottsdale Ins. Co., 955 F.
 Supp. 2d 317, 324-25 (D.N.J. 2013). A motion for judgment on the pleadings is “analyzed under
 the same standards that apply to a Rule 12(b)(6) motion.” Id. (quoting Revell v. Port Auth. of N.Y.
 & N.J., 598 F.3d 128, 134 (3d Cir. 2010)). A court must grant that motion if the “movant clearly



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 establishes that no material issue of fact remains to be resolved and that he is entitled to judgment
 as a matter of law.”
        Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.
 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is
 apparent that the asserted claims are plainly understood and not directed to eligible subject matter.
 See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,
 concurring). In those situations, claim construction is not required to conduct a § 101 analysis.
 Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e
 perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a validity
 determination under § 101.”). See also MyMail, Ltd. v. ooVoo, LLC, 934 F.3d 1373, 1378 (Fed.
 Cir. 2019) (“Patent eligibility under §101 is a question of law that may involve underlying
 questions of fact… Patent eligibility may be determined on a Rule 12(c) motion, but only when
 there are no factual allegations that, if taken as true, prevent resolving the eligibility question as a
 matter of law.”)
        B. The Law of 35 U.S.C. § 101
        Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any
 new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. The
 law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and
 abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980) (emphasis added). Abstract
 ideas are ineligible for protection because a monopoly over these ideas would preempt their use in
 all fields. See Bilski, 561 U.S. at 611–12. In other words, “abstract intellectual concepts are not
 patentable, as they are the basic tools of scientific and technological work.” Id. at 653 (quoting
 Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).
        Determining whether a patent claim is impermissibly directed to an abstract idea involves
 two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible
 concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the
 claim contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e.,
 an element or combination of elements that is sufficient to ensure that the patent in practice
 amounts to significantly more than a patent upon the ineligible concept itself.” Id. (internal
 quotations and citations omitted).



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        Transformation into a patent-eligible application requires “more than simply stating the
 abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.
 v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Furthermore, the use of generic hardware
 or computer technology to perform “well-understood, routine, and conventional activities
 commonly used in industry,” does not make a claim patent eligible. Content Extraction &
 Transmission LLC v. Wells Fargo Bank, 776 F.3d 1343, 1348 (Fed. Cir. 2014). Also, a claim is
 not meaningfully limited if it includes only token or insignificant pre- or post-solution activity—
 such as identifying a relevant audience, category of use, field of use, or technological environment.
 Mayo, 132 S. Ct. at 1297–98, 1300–01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175,
 191–92 & n.14 (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978).
        Finally, “simply appending conventional steps, specified at a high level of generality, to
 laws of nature, natural phenomena, and abstract ideas cannot make those laws, phenomena, and
 ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort Props., Inc. v. Am. Master Lease LLC,
 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad and general limitation does not impose
 meaningful limits on the claim’s scope.”). Although factual allegations are generally presumed
 true in the context of a Rule 12(c) inquiry, any such allegations concerning the inventive nature of
 the claims cannot be “wholly divorced from the claims or the specification.” Cellspin Soft, Inc. v.
 Fitbit, Inc., 927 F.3d 1306, 1317 (Fed. Cir. 2019).


    V. STATEMENT OF THE FACTS
        A. The ‘101 Patent
        The ’101 Patent was filed on April 3, 2018, and issued on March 24, 2020, with Plaintiff
 being the assignee of all rights in the ‘101 Patent. As owner of the ‘101 Patent, the Plaintiff is also
 referenced herein to as “Patentee.” The ‘101 Patent is entitled “[s]ystems and methods for
 indicating the existence of accessible information pertaining to articles of commerce,” and is
 directed to “systems and methods for enabling a mobile device to indicate the existence of
 accessible information about an identified article of commerce.” ’101 Patent at 1:28-30.
        In the ‘101 Patent, Patentee acknowledged that numerous technologies existed at the time
 of their application. Id. For example, Patentee acknowledged that “[p]ortable digital devices are
 now common.” Id. at 1:34. The applicant further acknowledged that “[v]arious communications
 technologies are frequently built into these devices” and “mobile devices may employ an

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 incorporated imaging device to scan Universal Product Codes (UPCs) or other symbologies
 disposed on articles of commerce to receive more information on such articles.” Id. at 1:48, 1:59-
 62. The problem identified by Patentee was that “devices take time to connect to the internet (if
 internet service is even available) and then the user still may or may not have information on the
 article of commerce.” Id. at 1:64–1:66. Patentee contended that the delay and lack of information
 led to user frustration. Id. at 1:66- 2:2. Patentee thus proposed a solution whereby a user may be
 notified of the existence of a link to information of an article of commerce. Id. at 2:17–19.
         But the Patentee described his “solution” only with generic components and only at a high-
 level of generality. For example, Claim 1 of the ’101 Patent is directed to a “system for indicating
 an existence of a link” with the system consisting of only three tangible components: (1) a mobile
 device; (2) digital files; and (3) a server. Id. at Cl. 1. Claim 1 further requires that the server “store
 a look-up table that includes at least a plurality of bar codes associated with a plurality of articles
 of commerce,” and that the claimed mobile device include: (1) a signal processing device (i.e., a
 standard computer processing module (6:14-28)); and (2) a visual input device (i.e., a camera
 (7:27-29)). Id. Neither the claims nor the specification disclose any special algorithms or
 programming.
         The specification states that Figure 3, below, depicts “a system in accordance with the
 present disclosure.” Id. at 8:62–63. Id., Fig. 3.




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        In Fig. 3, mobile device 100 is associated with database 110. Id. at 8:63-65. Database 110
 may be stored in the internal memory of mobile device 100 (e.g., storage module 110) or external
 memory communicably coupled to mobile device 100. Id. The mobile device 100 communicates
 with a server 304 via communication network 302 via any form of communication and protocol
 means. Id. at 9:5–23. Server 304 stores look-up tables in storage medium 306. Id. at 9:23-24. This
 entire configuration is notoriously well-known, representing a mobile device linked to a cloud
 server via a standard telecommunications network.
        The look-up tables provided on server 304 store information such as Universal Product
 Codes (UPCs) and information links. Id. at 9:23–25. Also depicted is product 310 comprising
 barcode 312 which may be scanned by mobile device 100. The mobile device 100 downloads at
 least one look-up table from storage 306 to database 110 via communication medium 308. Mobile
 device 100 may then be used to scan barcode 312. Upon scanning barcode 312, mobile device 100
 may look up product 310 in database 110 (which contains the look-up table downloaded from
 storage 306). The mobile device may then learn of the existence of a link to more information
 regarding product 310. In all, the ‘101 Patent is directed to communicating information (existence
 of a link to more information) about an article of commerce by a barcode, which can be scanned
 by a mobile device to communicate the information.


        B. The Claims of the ‘101 Patent
        Plaintiff only specifically asserted Claim 1 of the ‘101 Patent in the Complaint. (Complaint,
 ¶14, ECF 1). For reference, Claim 1 of the ‘101 Patent reads as:
        A system for indicating an existence of a link to information pertaining to an article
        of commerce, the system comprising:
                 a mobile device comprising a portable handheld housing and a
        communication interface configured to enable the mobile device to communicate
        with a communication network, the mobile device further comprising a signal
        processing device and a visual input device, the visual input device affixed within
        the portable handheld housing;
                 digital files associated with the mobile device,
                 a server in communication with the communication network, the server
        comprising a server database configured to store a look-up table that includes at
        least a plurality of bar codes associated with a plurality of articles of commerce, the
        look-up table also storing a plurality of information link indicators, each
        information link indicator associated with a respective bar code and article of

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        commerce, and each information link indicator being configured as a status signal
        indicating the existence or absence of a link to information pertaining to a
        respective article of commerce, the link being made to the information via the
        communication network;
                wherein the visual input device is configured to scan an image of an article
        of commerce, decode the image to obtain a bar code and forward data from the
        scanned image to the signal processing device;
                wherein, in response to receiving the bar code, the signal processing device
        is configured to look up the bar code in the look-up table to determine from a
        respective information link indicator whether or not a link exists for accessing
        information pertaining to an article of commerce associated with the bar code via
        the communication network.
 ‘101 Patent at 11:47-12:14.


          The ‘101 Patent includes twenty-one total claims with four of the claims being
 independent, namely Claims 1, 7, 12, and 17. Claim 1 is a system claim as described above.
 Claim 7 is a method claim which tracks Claim 1, but in method form. Claim 12 is directed
 to a mobile device used in the system of Claim 1. Claim 17 is directed to a computer
 readable medium (CRM) which provides computer instructions for performing the method
 of Claim 7. With all the claims being highly related, Claim 1 is taken to be representative
 of all of the claims of the ‘101 Patent as is the focus of the following discussion.


    VI.     ARGUMENT
          The claims of the ‘101 Patent are invalid under 35 U.S.C. § 101 because they fail both
 prongs of the Alice test. Each of the claims is directed to the abstract idea of communicating
 information about an article of commerce by use of a marking. Abstract ideas are not eligible for
 patenting. None of the claims contains an “inventive concept sufficient to ensure that the patent in
 practice amounts to significantly more than a patent upon the ineligible concept itself.” See Alice,
 134 S. Ct. at 2355 (emphasis added). The ‘101 Patent is plainly invalid, and there are no factual
 allegations that Plaintiff can present to overcome the obvious deficiencies in the specification and
 claims of the ‘101 Patent. Because the ‘101 Patent is clearly invalid, Defendant respectfully
 requests that the Court grant this Motion pursuant to Rule 12(c) of the Federal Rules of Civil
 Procedure Fed. R. Civ. P. 12(c).




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               A. Alice Step 1: The ‘101 Patent is directed to the abstract idea of
          communicating information about an article of commerce by use of a marking

          Claim 1 is directed to the abstract idea of communicating information about an article of
 commerce by use of a marking. Assessing whether Claim 1 is directed to an abstract idea, begins
 by analyzing the “focus” of the claim, i.e., its “character as a whole,” in order to determine whether
 the claim is directed to an abstract idea. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167
 (Fed. Cir. 2018). It is necessary to examine a patent’s “‘claimed advance’ to determine whether
 the claims are directed to an abstract idea.” Finjan, Inc. v. Blue Coat System, Inc., 879 F.3d 1299,
 1303 (Fed. Cir. 2018). A court should strip away “excess verbiage” in order to determine what the
 claim is directed to. Affinity Labs of Tex., LLC v. Directv, LLC, 838 F.3d 1253, 1256 (Fed. Cir.
 2016).
          Here, the ’101 Patent is directed to communicating information about an article of
 commerce by use of a marking. ’101 Patent, Cl. 1. Put simply, the applicant claimed the use of
 conventional technology to provide information to a consumer as to whether more information
 about a product is available. The idea of determining whether more information related to an article
 of commerce exists is a fundamental practice that can be carried out manually. In essence, the
 patent claims the fundamental activity of asking a salesperson for information. Take, for example,
 a customer who goes to a store to purchase a camera. The customer may see a camera on display.
 However, the customer does not know whether the camera is in stock, or whether it has all the
 functions the customer desires. The customer may then ask a salesperson for additional
 information. The salesperson may look at the displayed item, and respond that he or she can look
 up the information for the customer. Alternatively, the salesperson may be unaware of any further
 information, and may inform the customer accordingly. This captures the fundamental concept of
 Claim 1 of the ‘101 Patent.
          The Federal Circuit’s decision in Secured Mail is highly instructive. In Secured Mail, the
 Federal Circuit held claims directed to “communicating information about a [mail object] by use
 of a marking” to be abstract. Secured Mail, 873 F.3d at 909. The claims at issue in Secured Mail
 involved using QR codes on mail packaging to obtain information related to the mailing. Id. at
 908. This is similar to Claim 1 of the ‘101 Patent in which a barcode is used to retrieve information.
 ’101 Patent, Cl. 1, 7:50–64. In Secured Mail, the court held that the claims were “not limited to
 any particular technology of generating, printing, or scanning a barcode.” Secured Mail, 873 F.3d

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 at 911. Thus, “each step of the process is directed to the abstract process of communicating
 information about a mail object using a personalized marking” Id. In a similar manner, Claim 1is
 simply directed to using a scanning device to scan a marking and retrieve information related to a
 product.’101 Patent, Cl. 1. The claims are not limited in any meaningful way to any particular
 technology.
         The Secured Mail court also reviewed Enfish, a seminal case supporting patent subject
 matter eligibility. Secured Mail, 873 F.3d at 910, discussing Enfish, LLC v. Microsoft Corp., 822
 F.3d 1327, 1339 (Fed. Cir. 2016). Specifically, the court differentiated Secured Mail from Enfish
 by noting that the claims at issue in Enfish were directed to an improvement in computer
 functionality, while the claims in Secured Mail were not, stating that the claims were “not directed
 to a new barcode format, an improved method of generating or scanning barcodes, or similar
 improvements in computer functionality.” Id. This statement fully applies to Claim 1 of the ‘101
 Patent: there is no new barcode format, no improved method of generating or scanning barcodes,
 or an improvement in computing function.
         Similar barcode related claims have been found patent ineligible. In Coding Techs., LLC
 v. Miss. Power Co., the court analyzed claims directed to “using a barcode on a mobile device to
 facilitate bill payment.” Coding Techs., LLC v. Miss. Power Co., 2020 U.S. Dist. LEXIS 249547,
 *8, 2020 WL 8410430. The court specifically found that the claims were “in all relevant respects
 similar to the barcode-related patents found to embrace an abstract idea as in Secured Mail.” Id. at
 *11. Hence, the court found that the claims, which “recite a method whereby a billing transaction
 is facilitated by virtue of user and billing information encoded in a barcode,” to be directed to an
 abstract idea, as “the claims do not set forth any particular method [by which] the barcode is to be
 generated or scanned, or any method of improving the speed, efficiency, or accuracy of barcode
 functionality.” Id. The court also found that the claims did not improve computer functionality. Id.
 Claim 1 of the ‘101 Patent is similar to the ones in Coding Tech in that it is directed to
 communicating information about an article of commerce by use of a barcode. Additionally, Claim
 1 uses conventional components and is not directed to an improvement in computer functionality.
 See generally ’101 Patent, Cl. 1. Thus, Claim 1 of the ‘101 Patent is also directed to an abstract
 idea.
         The claim language confirms that representative Claim 1 is directed to the abstract idea of
 communicating information about an article of commerce by use of a marking. The claim recites

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 generic hardware including “a mobile device” (having a computer and a camera) “a visual input
 device,” and “a server.” ’101 Patent, Cl. 1. Nothing in the claim language is concerned with
 improving the functioning of any of the hardware from a technical standpoint, which is why the
 claimed components are described “in vague terms without any meaningful limitations.” In re TLI,
 Commc’ns LLC Patent Litig., 823 F.3d 607, 612–13 (Fed. Cir. 2016) (“the focus of the patentee
 and of the claims was not” on improved hardware because the specification described the
 functionality of the hardware “in vague terms without any meaningful limitations”).
        The Federal Circuit’s decision in ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759
 (Fed. Cir. 2019) is also instructive. The ChargePoint claims were directed to a communication
 network to facilitate finding a recharging facility, controlling the facility, and paying for the
 electricity consumed. Id. at 766. But the claim described this process only in high-level functional
 terms, such as “a control device to turn electric supply on and off” and “a transceiver to
 communicate requests.” Id. The specification never even suggested that the charging station itself
 would operate differently or that it was “improved from a technical standpoint.” Id. at 768. The
 Federal Circuit therefore concluded that the risk of overly broad coverage was high because the
 broad claim language “would cover any mechanism for implementing network communication on
 a charging station.” Id. at 770. It further noted that, “[e]ven if ChargePoint’s specification had
 provided, for example, a technical explanation of how to enable communication over a network
 for device interaction (which, as discussed above, it did not), the claim language here would not
 require those details.” Id. at 769–70.
        Like the claims in ChargePoint, the Patentee of the ’101 Patent failed to disclose the details
 of how to implement his system for determining the existence of more information related to an
 article of commerce. Instead, the Patentee described the system only at a high level of generality.
 For example, the mobile device of Claim 1has a “communication interface” which allows it to
 communicate with a server and look up information.’101 Patent, Cl. 1. Claim 1 also discloses a
 “server” which stores a look-up table. Id., 9:59–64. But nothing in Claim 1 explains how the mobile
 device must be programmed to download the look-up table from the server. Moreover, nothing
 suggests that the mobile device or any other component is “improved from a technical standpoint.”
 See ChargePoint, 920 F.3d at 768. In other words, the broad claim language covers only the
 envisioned resulting system but not how to achieve it. See Internet Patents Corp. v. Active
 Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015) (concluding that claim not directed to patent-

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 eligible subject matter where “[t]he mechanism for maintaining the state is not described, although
 this is stated to be the essential innovation.”).
         By only claiming the desired result— communicating information about an article of
 commerce by use of a marking —without describing any specific roadmap for doing so, Claim 1
 of the ’101 Patent falls short of claiming eligible subject matter under § 101. See Internet Patents,
 790 F.3d at 1348. Indeed, the claim risks preempting all methods or systems for communicating
 information about an article of commerce by use of a marking. See, e.g., Mayer Conversion Sys.
 Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect
 . . . broad” where “the claims [were] largely functional in nature, they [did] not provide any
 significant description of the particular means by which the various recited functions are
 performed,” and “[a]ll that [was] disclosed [was] the ultimate objective”). The law is clear that
 claims that “recite the concept, but not the way to implement it,” are ineligible for patenting. fin
 LLC v. Backblaze, Inc., 351 F. Supp. 3d 733, 740 (D. Del. 2018). Such is the situation with Claim
 1 of the ‘101 Patent.
         Claim 1 thus fails Alice step one because it is directed to a patent-ineligible abstract idea.
 Alice, 134 S. Ct. at 2355. Claim 1 of the ’101 Patent is representative of all the claims because all
 the claims are “substantially similar and linked to the same abstract idea.” See Content Extraction
 776 F.3d at 1348 (holding that district court’s analysis of representative claims was appropriate
 where claims were “substantially similar and linked to the same abstract idea”). Accordingly, all
 of the claims of the ’101 Patent are directed to an abstract idea.
                 B. Alice Step 2: No inventive concept to transform the abstract idea into
         patent-eligible subject matter is disclosed

         Because Claim 1 of the ’101 Patent is directed to an abstract idea, the Court must next
 determine whether it contains an “inventive concept sufficient to transform the claimed abstract
 idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To
 pass this test, Claim 1 “must include additional features” that “must be more than well-understood,
 routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation omitted). Here, Claim 1
 is broadly generic and does not contain meaningful limitations that would restrict it to a non-
 routine, specific application of the abstract idea. Patentee acknowledged that “[p]ortable digital
 devices are now common.” ‘101 Patent at 1:34. Patentee further acknowledged that “[v]arious


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 communications technologies are frequently built into these devices” and “mobile devices may
 employ an incorporated imaging device to scan Universal Product Codes (UPCs) or other
 symbologies disposed on articles of commerce to receive more information on such articles.” Id.
 at 1:48, 1:59–62. The problem identified by the Patentee was that “devices take time to connect to
 the Internet (if Internet service is even available) and then the user still may or may not have
 information on the article of commerce.” Id. at 1:64–66. The Patentee contended that the delay
 and lack of information leads to user frustration. Id. at 1:66–2:2. The applicant thus proposed a
 solution whereby a user may be notified of the existence of a link to information of an article of
 commerce. Id. at 2:17–19.
        The solution is claimed and implemented via the conventional application of generic
 means. There is no unconventional feature or activity disclosed in Claim 1 of the ‘101 Patent. This
 is especially true given that no special programming or improved component is claimed. All that
 is disclosed to perform the functionality of retrieving information as to the existence of further
 information of an article of commerce is a “mobile device” having a generic “visual input device”
 and “signal processing device” (a computer), a “server” that hosts a “look-up table,” and “digital
 files,” where the mobile devices uses the visual input device to scan a barcode and retrieve the
 relevant information from the look-up table. Id., Cl. 1.
        However, Claim 1 is altogether devoid of any technical explanation, beyond the use of
 conventional technology, as to how to implement the purported invention. See In re TLI, 823 F.3d
 at 615 (claims failed Alice’s step 2 where specification limited its discussion of “additional
 functionality” of conventional components “to abstract functional descriptions devoid of technical
 explanation as to how to implement the invention”). “At Alice step two, it is [thus] irrelevant
 whether [communicating information about an article of commerce by use of a marking] may have
 been non-routine or unconventional as a factual matter.” BSG Tech, 899 F.3d at 1290–91 (“As a
 matter of law, narrowing or reformulating an abstract idea does not add ‘significantly more’ to
 it.”); see also Berkheimer v. HP Inc., 881 F.3d 1360, 1370 (Fed. Cir. 2018) (claims lacked an
 inventive concept because they “amount to no more than performing the abstract idea of parsing
 and comparing data with conventional computer components”); Affinity Labs of Tex., 838 F.3d
 1262 (claim lacked an inventive concept because it “simply recites the use of generic features . . .
 as well as routine functions . . . to implement the underlying idea”). Adding generic functionality



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 to an existing mobile device does not amount to an inventive concept as a matter of law. See Alice,
 134 S. Ct. at 2359-60.
        Claim 1 fares no better when its limitations are viewed in combination. The Patentee did
 not describe how the claimed system “is a technical improvement over prior art.” See Bascom
 Global Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016)
 (emphasis added). The Patentee sought only to reduce user frustration with finding information
 related to an article of commerce. ’101 Patent, 1:66–2:6. They did so by storing a look-up table
 that can be accessed locally and thus reduce user frustration because, purportedly, the user would
 at least know whether further information exists. See Id. This merely adds generic database
 functionality to the mobile device. See ChargePoint, 920 F.3d 759, 774-75 (rejecting plaintiff’s
 reliance on Bascom because the claims “do not improve the technology” but instead “merely add
 generic networking capabilities to [the claimed components] and say ‘apply it’”). Considering the
 limitations in combination “add[s] nothing . . . that is not already present when the [limitations]
 are considered separately.” Alice, 134 S.Ct. at 2359 (internal brackets and quotation marks
 omitted). There is nothing “inventive” about using a mobile device and adding generic database
 functionality.
        Claim 1 is devoid of any technical explanation as to how to implement the invention and
 thus provides no inventive concept. See In re TLI, 823 F.3d at 615 (claims failed Alice’s step 2
 where specification limited its discussion of “additional functionality” of conventional
 components “to abstract functional descriptions devoid of technical explanation as to how to
 implement the invention”).
        And the ‘101 Patent’s use of terms such as “barcodes” and “information link indicators” to
 describe computer components that were known in the art is not enough to confer patentability.
 See Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d 1322, 1341 (Fed. Cir. 2017)
 (“In particular, the MRTs and PRTs—although technical sounding—include generic data types
 for which the system can store the extracted data.”) (emphasis added). Indeed, the Supreme Court
 has long “warn[ed] . . . against interpreting § 101 ‘in ways that make patent eligibility depend
 simply on the draftsman’s art.’” Alice, 134 S. Ct. at 2360 (quoting Mayo, 132 S. Ct., at 1294).
 Barcodes were known in the art. ’101 Patent at 7:61–64; see also Secured Mail, 873 F.3d at
 912(“[t]he use of barcodes was commonplace and conventional in 2001”) (emphasis added).).



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 The information link indicator may simply be a “status or check signal,” neither of which would
 be unknown to those in the art. Id. at 4:4-19.
        Here again, the Coding Techs case is instructive. There, the court analyzed the similar
 barcode related patent claims under the second step of Alice and found that they did not disclose
 an inventive concept. See also Coding Techs., 2020 U.S. Dist. LEXIS 249547, at **14-19. The
 court specifically noted that “[t]he use of barcodes was commonplace and conventional” as early
 as 2001, as was the concept of a barcode-encoded URL.” Id. at *16 (citing Secured Mail, 873 F.3d
 at 912). The court also found that the claims were silent “as to the means by which [the] computing
 tasks are to be performed” and merely disclosed a “generic computer” performing “generic
 computer tasks.” Id. at **17-19. Thus, the court concluded that the patent-in-suit did not “present
 an inventive concept sufficient to render the abstract idea of using barcodes to facilitate bill
 payment patentable.” Id. at *20. Similarly here, Claim 1 of the ‘101 Patent is directed to
 conventional barcode technology and recites only generic computer tasks performed by generic
 computing devices/components (e.g. “mobile device,” “server,” “visual input device”) or generic
 computer software (e.g “digital files,” “look-up table”). ’101 Patent, Cl. 1. Thus, Claim 1 of the
 ’101 patent fails to disclose an inventive concept.
        Unlike in Berkheimer, this case does not present any factual disputes requiring resolution
 before the Court can decide this § 101 issue. In Berkheimer, the Federal Circuit noted that the
 specification explicitly “describe[d] an inventive feature that store[d] parsed data in a purportedly
 unconventional manner.” Berkheimer, 881 F.3d at 1369. The Federal Circuit then examined
 whether the improvements described in the specification were included in the claims. For those
 claims where the inventive feature in the specification was “captured in the claims,” the Federal
 Circuit found a “factual dispute regarding whether the invention describe[d] well-understood,
 routine, and conventional activities.” Id. But where the claims did not recite the purportedly
 inventive features described in the specification, the Federal Circuit concluded that they were
 directed to patent ineligible subject matter under § 101. Id. Here, in contrast, there is no need for
 fact discovery at all because neither Claim 1 nor the specification of the ‘101 Patent describes any
 unconventional components or the use of generic components in some unconventional manner,
 and no amount of fact discovery can change that.
        As discussed above, the purported advance of Plaintiff’s claims is the idea of
 communicating information about an article of commerce by use of a marking. ’101 Patent at 2:17-

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 19. But Claim 1 of the ’101 Patent does not describe any particular mechanism, beyond
 conventional processing, for achieving the result. See Secured Mail., 873 F.3d at 912 (claims fail
 Alice step two where “[t]he claim language does not provide any specific showing of what is
 inventive about the [limitation in question] or about the technology used to generate and process
 it”). The recited limitations—whether considered individually or as an ordered combination—are
 insufficient to add “significantly more” to the abstract idea. Because it is altogether devoid of any
 “inventive concept,” Claim 1 of the ’101 Patent is thus patent-ineligible under § 101. See Alice,
 134 S. Ct. at 2359–60.
        C. The remaining claims are also abstract and contain no “inventive concept.”
        As discussed above, the remaining claims of the ‘101 Patent outside of Claim 1 recite the
 same abstract idea: communicating information about an article of commerce by use of a marking.
 Indeed, the remaining independent claims of the ‘101 Patent are substantially similar to Claim 1.
 Because these independent claims cannot be meaningfully distinguished from Claim 1 of the ’101
 Patent, they are ineligible for the same reasons. The dependent claims fare no better. The only
 differences relate to token or insignificant pre- or post-solution activity— for example, displaying
 the information retrieved (Claims 2, 8, 13, and 18), producing audio alerts (Claims 3, 9, 14, and
 19), updating (Claims 5, 10, and 20), and linking (Claims 4, 11, 15, and 21). See Ultramercial, 722
 F.3d at 1346 (“claim . . . will not be limited meaningfully if it contains only insignificant or token
 pre or post-solution activity—such as identifying a relevant audience, a category of use, field of
 use, or technological environment”). Indeed, all the dependent claims are written in the same or
 similar high-level of generality as in Claim 1 of the ’101 Patent.
        None of these limitations is sufficient to raise the claims beyond the abstract idea to which
 they are directed. Like Claim 1 of the ’101 Patent, the limitations in the remaining claims are
 directed to the same abstract idea of communicating information about an article of commerce by
 use of a marking and are altogether devoid of any “inventive concept.” They are thus equally patent
 ineligible under § 101. See Alice, 134 S. Ct. at 2359-60; see also Berkheimer, 881 F.3d at 1365
 (“Courts may treat a claim as representative where there is no ‘meaningful argument for the
 distinctive significance of any claim limitations not found in the representative claim”’).




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    VII.       CONCLUSION
        For the foregoing reasons, it is respectfully requested that the Court grant Defendant
 Defendant’s Motion for Judgment on the Pleadings.


 Dated: June 24, 2022                                BUDZYN IP LAW, LLC

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